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 UNITED STATES DISTRICT COURT 

 SOUTHERN DISTRICT OF NEW YORK 

 -------------------------------------------------------x 


 STEPHEN HUSSEY,

                   Plaintiff,

           -v-                                                  No. 11 Civ. 3360 (LTS)(RLE)

 METRO-NORTH COMMUTER RAILROAD,

                   Defendant.

 -------------------------------------------------------x


                                       MEMORANDUM OPINION AND ORDER

                   In this action, Stephen Hussey ("Plaintiff') alleges that his employment was

 wrongfully tenninated in violation of Title VII of the Civil Rights Act of 1964,42 U.S.C. §

 2000e et seq., and the Railroad Labor Act ("RLA"), 45 U.S.c. § 151 et seq. Plaintiff seeks an

 order vacating award No. 135 (the "Award") of Special Adjustment Board No. 1001 (the

 "Adjustment Board"), which upheld his tennination, as well as reinstatement to his previous

 position and money damages under 45 U.S.c. § 153(First)(q). Metro-North Commuter Railroad

 ("Defendant" or "Metro-North") moves to dismiss Plaintiffs complaint for lack of subject matter

 jurisdiction and failure to state a claim under Federal Rules of Civil Procedure 12(b)( 1) and

 12(b)(6). The Court has jurisdiction of this case pursuant to 28 U.S.c. § 1331 and 45 U.S.c. §

 153(First)(q).

                   The Court has reviewed carefully the administrative record and all of the parties'

 submissions in this case. For the reasons set forth below, Defendant's motion is granted.




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                                              BACKGROUND

                  At the time of the incident giving rise to this action, Plaintiff was employed as a

 General Maintenance Supervisor at Grand Central Terminal. (Amended Complaint ("Compl.")

 ~[   1.) On July 16,2010, Metropolitan Transit Authority ("MIA") officers entered Plaintiffs

 office in response to an anonymous tip and found him and two others sitting at a table on which

 whiskey, marijuana, and drug paraphernalia were visible. (Compl.        ~   7; Declaration of Frank

 Rinaldi ("Rinaldi Dec.") ~ 5.)

                  Plaintiff received a notice on July 22, 2010 that he was being charged with: (1)

 violating Metro-North's substance abuse policy, (2) displaying conduct unbecoming of a Metro­

 North employee by possessing alcohol, drugs, and drug paraphernalia on Metro-North property,

 and (3) displaying conduct unbecoming of a Metro-North employee by failing to perform his

 duties as assigned "in that ... while on duty ... [Plaintiff was] in an office ... in Grand Central

 Terminal with two other employees with a controlled substance, drug paraphernalia and alcohol

 present." (CompI.    ~   10; Ex. 1 to CompI.) Plaintiff pled "no contest" to the charge of violating

 Defendant's substance abuse policy and sought a waiver letter under the Operation SAVE

 Agreement (the "SAVE Agreement") to enter a drug and alcohol treatment program. (CompI.

 ~    12; SAVE Agreement, attached as Ex. A to Declaration of Carlyet Mashburn ("Marshburn

 Decl.").) The SAVE Agreement is an agreement between Metro-North and the American

 Railway & Airway Supervisors' Association ("ARASA"), which requires Metro-North to offer

 an employee a waiver letter to enter a drug treatment program when he or she commits a

 "substance rule violation which is a first offense and which does not involve any other apparent

 rule violation." (SAVE Agreement ~~ 1-4.) During treatment, the employee is deemed "absent

 due to illness," and once the employee finishes treatment he or she may be restored to service.

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(Id.) The SAVE Agreement provides that, in the event of a dispute over the interpretation of its

 provisions, a committee of three must be constituted to resolve the dispute. (Id.   ~   8.)

                 On August 18, 2010, a hearing was held on the three charges. (CompI.          ~I   11.) At

 the hearing, Plaintiff (through his union representative) argued that he qualified for a waiver

 letter because it was his first offense and because the second and third charges were derivative of

 the drug and alcohol offense, not "other apparent rule violation[s]." Plaintiff also argued that

 Metro-North improperly denied him a waiver letter due to the media attention that his case had

 received. (Hrg. Trans. at 103-04, attached as Ex. D-2 to Rinaldi Decl.) Lastly, he argued that

 Defendant violated the SAVE Agreement by failing to call the committee of three to resolve the

 disagreements over the meaning of "any other apparent rule violation," despite repeated requests

 by his union. (Id. at 98-102.) On September 2,2010, Plaintiff was found guilty of all three

 charges and was dismissed from service. (Compi. '113; Notice of Discipline, attached as Ex. E

 to Rinaldi Decl.)

                 On September 16,2010, ARASA appealed Plaintiff's termination to Defendant's

 Labor Relations Department. (CompI.,r 13.) Plaintiff reiterated his argument that he was

 entitled to a waiver under the terms of the SAVE Agreement. (See Appeal of Disciplinary

 Action, attached as Ex. F to Rinaldi Decl.) Plaintiff did not raise the argument that Metro-North

 was obligated to constitute a three-person committee to resolve interpretive disputes regarding

 the Agreement's language. The Labor Relations Department denied the appeal, stating that the

 language of the SAVE agreement was not mandatory where, as in Plaintiff's case, there were

 "other apparent rule violations." (Administrative Decision at 2, attached as Ex. G to Rinaldi

 Decl.)

                 Plaintiff appealed his termination to the Adjustment Board (the "Board"),

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 advancing essentially the same arguments he had made before the Labor Relations Department.

 (Employee's Submission to the Board at 5, attached as Ex. H to Rinaldi Decl.) Once again,

Plaintiff neglected to raise Defendant's failure to convene the committee of three. On November

 24,2010, the Board upheld Plaintiffs termination. (CompI.,-r 15.) The Board concluded:

 "Although we do concur with the Organization's view that Charges 2 and 3, as drafted, could be

 construed as somewhat over-blown piling on, we find no fatal error in the redundancies."

 (Decision of Special Board of Adjustment No. 1001 (the "Award") at 7, attached as Ex. I to

 Rinaldi Decl.)

                  Plaintiff commenced this action on May 18, 2011, seeking vacatur of the Award

 and compensatory and punitive damages. Defendant now moves under Federal Rules of Civil

 Procedure 12(b)(l) and 12(b)(6) to dismiss the Amended Complaint.



                                              DISCUSSION

                  The statutory provision under which Plaintiff brings his claim provides, in

 relevant part:

                  If any employee ... is aggrieved by any of the terms of an award [by any division
                  of the Adjustment Board] ... then such employee or group of employees or
                  carrier may file in any United States district court ... a petition for review of the
                  division's order. ... The court shall have jurisdiction to affirm the order of the
                  division, or to set it aside, in whole or in part, or it may remand the proceedings to
                  the division for such further action as it may direct. On such review, the findings
                  and order of the division shall be conclusive on the parties, except that the order
                  of the division may be set aside, in whole or in part, or remanded to the division,
                  [1] for failure of the division to comply with the requirements of this chapter, [2]
                  for failure of the order to conform, or confine itself, to matters within the scope of
                  the division's jurisdiction, or [3] for fraud or corruption by a member of the
                  division making the order.

 45 U.S.c.A. § 153(First)(q) (West 2010) (emphasis added). In its opening papers, Defendant

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 asserts that Plaintiff cannot establish any of the three statutory grounds for vacatur or remand of

 the award and argues that the Court therefore lacks subject matter jurisdiction of this action.

 Plaintiff, on the other hand, contends that the review limitation provision merely goes to the

 elements of a cause of action for vacatur or remand and that Defendant's motion must therefore

 be detennined as one under Rule 12(b)( 6) or Rule 56 for dismissal on the merits. In its reply

 papers, Defendant captioned the motion as one seeking dismissal under Rules 12(b)( I) and

 12(b)(6).

                    Plaintiffs argument is consistent with the language of the statute. The first two

 sentences of the statute explicitly provide that the Court has jurisdiction over challenges to a

 Board's award. The last sentence, which delineates the circumstances under which an order may

 be set aside or remanded, makes no reference to the Court's jurisdiction. In Arbaugh v. Y&H

 Corp., 546 U.S. 500 (2006), the Supreme Court instructed courts and litigants to use the

 language ofthe applicable statute as a "bright line" in detennining whether a restrictive statutory

 provision is jurisdictional: "If the Legislature clearly states that a threshold limitation on a

 statute's scope shall count as jurisdictional, then courts and litigants will be duly instructed and

 will not be left to wrestle with the issue. . .. But when Congress does not rank a statutory

 limitation on coverage as jurisdictional, courts should treat the restriction as nonjurisdictional in

 character." 546 U.S. at 515-16 (footnote and citation omitted). Accordingly, the Court will treat

 the instant motion as one directed to the merits of Plaintiffs claim for vacatur of the Award.

                    When deciding a motion to dismiss a complaint for failure to state a claim under

 Rule 12(b)(6), the Court "accept[s] as true all factual statements alleged in the complaint and

 draw[s] reasonable inferences in favor of the non-moving party." McCarthy v. Dun & Bradstreet

 Corp., 482 F.3d 184, 191 (2d Cir. 2007). While detailed factual allegations are not required, "a

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complaint must contain sufficient factual matter, accepted as true, to 'state a claim to relief that

 is plausible on its face.'" Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Bell Atlantic

 Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Pleadings consisting only of '''labels and

 conclusions' or 'a formulaic recitation of the elements of a cause of action will not do. '" Id.

 (quoting Twombly, 550 US. at 555). "Where a complaint pleads facts that are merely consistent

 with a defendant's liability, it stops short of the line between possibility and plausibility of

 entitlement to relief." Id. (internal quotations and citations omitted).

                 In determining a Rule 12(b)( 6) motion to dismiss, the Court may consider the

 complaint, any exhibit attached to the complaint, materials incorporated in the complaint by

 reference, and documents that, "although not incorporated by reference, are 'integral' to the

 complaint." Schwartzbaum v. Emigrant Mortgage Co., No. 09 Civ. 3848,2010 WL 2484116, at

 *3 (S.D.N.Y. June 16,2010). A document is integral to the complaint if the complaint "relies

 heavily upon its terms and effect." Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir.

 2002) (internal quotations omitted). If a document relied on in the complaint contradicts

 allegations in the complaint, the document, not the allegations, controls, and the court need not

 accept the allegations in the complaint as true. Barnum v. Millbrook Care Ltd. Partnership, 850

 F. Supp. 1227, 1232-33 (S.D.N.Y. 1994). 


 Plaintiff's RLA Claims 


                 Under the RLA, disputes such as Plaintiff's claim of termination in violation of

 the CBA are within the exclusive jurisdiction of the National Railroad Adjustment Board

 ("NRAB") and the Special Boards of Adjustment. See 45 US.c. §§ 153(First)(i), (Second).

 "[T]he scope ofjudicial review of Adjustment Board decisions is among the narrowest known to

 the law." Union Pacific R. Co. v. Sheehan, 439 US. 89,91 (1978). The Supreme Court has

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 confirmed that judicial review of an Adjustment Board decision is confined to three statutorily­

 specified grounds: "(1) failure of the Adjustment Board to comply with the requirements of the

 Railway Labor Act; (2) failure of the Adjustment Board to conform, or confine, itself to matters

 within the scope of its jurisdiction; and (3) fraud or corruption." Union Pacific R. Co. v.

 Sheehan, 439 U.S. 89,93 (1978); Union Pacific R. Co. v. Brotherhood of Locomotive Engineers

 & Trainmen General Committee of Adjustment, Cent. Region, 130 S. Ct. 584, 592-93 (2009).

 Where these narrow grounds for judicial review are not implicated, the Adjustment Board's

 decision is "conclusive on the parties." CSX Transp., Inc. v. United Transp. Union, 950 F.2d

 872, 877 (2d Cir. 1991) (internal quotations omitted). A court may not substitute its own

 judgment for the Adjustment Board's, even if that court would have reached a different result.

 Id. at 811; see also Russell v. American Eagle Airlines, Inc., No. 07 Civ. 4119(NG), 2008 WL

 2600856, *3 (E.D.N.Y. July 1,2008) ("(An Adjustment Board] decision cannot be set aside even

 if the court disagrees with the result or rationale, because the reasoning was vague or ambiguous,

 because the decision was arbitrary and capricious, or because the decision was not supported by

 substantial evidence.") (internal quotations and citations omitted). Unless fraud is an issue,

 courts "ask only whether the arbitrators did the job they were told to do - not whether they did it

 well, or correctly, or reasonably, but simply whether they did it." United Transp. Union v.

 National R.R. Passenger Corp., 588 F.3d 805, 810 (2d Cir. 2009).

            Whether the Board Exceeded its Jurisdiction

                   Plaintiff asserts that, because he and Defendant disagreed as to whether he was

 entitled to a waiver under the SAVE Agreement, the Defendant was obligated to constitute a

 committee of three pursuant to that agreement to resolve an interpretive dispute; the failure to do


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 so, Plaintiff claims, deprived the Board ofjurisdiction to uphold his termination. Accordingly,

 the Board should have reversed the lower administrative decisions and ordered Defendant to

 convene such a committee to resolve the dispute. (Compi. ~ 89-112.)

                 This claim conflicts with the clear language of the RLA, which provides for

 Board resolution of employee-carrier disputes "growing out of grievances or out ofthe

 interpretation or application of agreements concerning rates of pay, rules, or working conditions"

 that have not been resolved successfully through carrier-based procedures. 45 U.S.C.A. §

 153(First)(i) (West 2010). It was clearly within the Board's jurisdiction to determine the

 applicability ofthe SAVE Agreement in connection with its consideration of Plaintiffs petition

 challenging his termination. The Court further notes that Plaintiffs argument with respect to the

 committee of three may in any event have been waived, as there is no indication that Plaintiff

 raised it in the administrative review process.

                 Plaintiff also claims that the Board exceeded its jurisdiction because the Board

 misinterpreted the phrase "other apparent rule violation" in the SAVE Agreement. This

 argument is unavailing. The Board has the power to construe the provisions of the parties' CBA

 and the SAVE Agreement, including the meaning of the phrase "other apparent rule violation."

 Plaintiff has not met its burden of showing that the Board's interpretation ofthe CBA and the

 SAVE Agreement was "wholly baseless and completely without reason," Giraud v. MTA

 Metro-North R. Co., No. 09 Civ. 2187(PGG), 2010 WL 931886, at *4 (S.D.N.Y. Mar. 12,2010)

 (quoting Gunther v. San Diego & Arizona E. Ry., 382 U.S. 257,261 (1965)), and the Court is not

 pennitted to second-guess the Board's interpretation of the CBA. See United Transp. Union, 588

 F.3d at 811.


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                  Plaintiff further alleges that his discharge was the product of fraud or corruption.

 In his Complaint, Plaintiff alleges that Metro-North refused to grant him a waiver under the

 SA VE Agreement in response to negative press coverage surrounding his case. In his opposition

 papers, Plaintiff expands upon the fraud/corruption allegation, claiming that the Board did not

 "fully vet all of the issues" and ignored jurisdictional challenges to its authority, thereby

 "rewriting" the SAVE Agreement and assisting in Defendant's refusal to issue a waiver letter to

 Plaintiff. (Opp. Memo. at 19-20.)

                  As to the first allegation, the language of 45 U.S.c. § 153(First)(q) only allows the

 Court to set aside an award when there is fraud or corruption by a member of the Arbitration

 Board. DeClara v. Metropolitan Transp. Authority, 748 F. Supp. 92, 95 (S.D.N.Y. 1990).

 Plaintiff, however, only alleges that Defendant and its employees - not members of the Board-­

 were influenced by the press coverage. Plaintiffs assertion that the Board acted fraudulently by

 failing to countermand Defendant's refusal to grant a waiver letter is likewise unavailing. To

 state a claim for vacutur of the Award under the fraud/corruption prong of § 153(First)(q),

 Plaintiff would have to show, at a minimum, that the Board "exhibit[ ed] a complete

 unwillingness to respond, and indifference, to any evidence or argument in support of [his]

 position[]." Smith v. American Eagle Airlines, Inc., No. 07 CV 3363(NG), 2008 WL 2600857,

 at* 4 (E.D.N.Y. July 1,2008) (quoting Pacific & Arctic Ry. & Navigation Co. v. United

 Transportation Union, 952 F.2d 1144 (9th Cir. 1991 )). As noted above, Plaintiff appears not to

 have raised the committee of three issue before the Board at all. While he did press his claim

 that the second and third charges were not "other apparent rule violations," Plaintiffs papers

 show that the Board considered this argument and found it unconvincing. (See Decision of


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 Special Board of Adjustment No. 1001 at 7, attached as Ex. I to Rinaldi Decl.) The mere fact

 that Plaintiff disagrees with the Board's conclusion is insufficient to make out a claim of fraud or

 corruption.

                  Accordingly, Plaintiff has failed to state a claim for vacatur of the arbitration

 award under the RLA.

 Plaintiffs Other Claims

                  Plaintiff also alleges that (1) his termination constituted disparate treatment in

 violation of Title VII, 42 U.S.c. § 2000e et seq., and (2) his termination violated a "well-defined

 and dominate [sic] public policy" of providing first-time drug and alcohol users a waiver letter to

 enter a treatment program. (Compi.        ~~   23-26.)

                  To establish a prima facie case of discrimination a plaintiff must show that (1) he

 is a member of a protected class; (2) he was qualified for the position held; (3) he suffered an

 adverse employment action; and (4) the circumstances surrounding the action gave rise to an

 inference of discrimination. St. Mary's Honor Ctf. v. Hicks, 509 U.S. 502, 506 (1993). Plaintiff

 has not alleged that he is a member of a protected class, nor has he pled any facts supporting an

 inference of discrimination. Accordingly, he has failed to state a claim under Title VII.

                  As for the public policy claim, Plaintiff fails to identify any authority

 demonstrating that he is entitled to relief on public policy grounds.



                                                  CONCLuSION 


                  For the foregoing reasons, Defendant's Motion to Dismiss the Amended 


 Complaint is granted. This Memorandum Opinion resolves docket entry no. 11. The Clerk of 



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Court is requested to enter judgment in Defendant's favor and close this case.

                 SO ORDERED.

Dated: New York, New York
       March 23,2012



                                                           ~RSWAJN
                                                            United States District Judge




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